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                 Exhibit H
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         Ch.VII Substantive Requirements: Dual Criminality,
         Extraditable Offenses, Specialty, and Non-Inquiry

         From: International Extradition: United States Law and Practice (6th
         Edition)
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         Content type: Book content
         Product: Oxford Scholarly Authorities on International Law [OSAIL]
         Published in print: 01 February 2014
         ISBN: 9780199917891




  Subject(s):
  Rule of law ‫ ނ‬:ritings of publicists ‫ ނ‬State practice ‫ ނ‬Comity ‫ ނ‬Conflicts between ‫ ނ‬Consistent
  interpretation ‫' ނ‬ualism ‫ ނ‬Act of state ‫ ނ‬-udicial review ‫ ނ‬Freedom from torture and cruel, inhuman,
  or degrading treatment ‫ ނ‬Customary international law ‫* ނ‬eneral principles of international law




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        International Extradition: United States Law and Practice, Ch. VIII, § 5, Grounds
        Relating to the Penalty: The Death Penalty and Cruel and Unusual Punishment at
        735‫ށ‬744 (4th ed.2002) (problems of enforceability of conditional extraditions
        discussion of leading international cases) 3 The Dept. of -ustice Manual at 9‫ށ‬15,
        500 (2d ed. loose leaf current) (post extradition considerations); 4 The Dept. of
        Justice Manual at 1 ff. (2d ed. loose leaf current) (survey of death penalty cases in
        the federal courts).290

  6.4. Variance in Prosecution and the Principle of Specialty
  In cases of extradition from the United States to another state, the crimes for which a
  relator may be tried by a requesting state are determined by the extradition warrant signed
  by the secretary of state or his/her designee. If there is a variance between the U.S.
  extradition warrant and the finding of the U.S. extradition magistrate or judge, the warrant
  will control in the requesting state until such time as it may be amended to conform to the
  decision of the extradition judge. The United States may waive variances by express
  authorization from the secretary of state, but only to the extent that the new crimes are
  based on the same facts that were presented at the relator‫އ‬s extradition hearing, the new
  crimes satisfy dual criminality, and probable cause can be found. The relator is entitled to
  challenge this determination in court. This is usually raised in the context of ongoing
  criminal proceedings.
  (p. 557) With respect to the interpretation and application of the principle of specialty in the
  United States, it is a confused and unsettled part of extradition law. The reasons are in part
  because it poses several difficult legal questions that the circuits have approached in
  different ways. They are:

        1. in the last twenty years the United States has enacted complex criminal statutes
        that for the most part have no counterpart in other legal systems; 291
        2. prosecutorial practice in United States frequently resorts to the use of superseding
        indictments whose substantive charges and factual recitations may vary from the
        original indictment on which extradition was secured;
        3. federal prosecutors in the ninety-four federal districts may be unfamiliar with this
        area of the law and more so with respect to the set of issues involved in specialty
        (even though it should be noted the Office of International Affairs [OIA] of the United
        States Department of Justice provides valuable assistance and advice to the United
        States Attorneys‫ އ‬offices throughout the country);
        4. some federal prosecutors tend to occasionally stretch the rules of permissibility
        with regard to their representations to the OIA, which are communicated to the
        requested state, and also stretch the limits of proper conduct in making
        representations to U.S. courts before which these issues are raised;
        5. as a consequence of all these factors, there is inconsistency and uncertainty among
        the circuits as to what constitutes a variance and how to deal with it, and the
        distinction between preclusion of prosecution under specialty and the use of evidence
        for proving other legal propositions than guilt of the precluded crime; and
        6. the conflicting positions of the circuits as to who can raise the issue of specialty,
        when, and how. 292

  The Ninth Circuit, in United States v. Khan, established an important requirement of
  unambiguousness, whereby if the surrendering state is not unambiguous about the charges
  for which extradition has been granted, then the U.S. courts would be required to
  determine whether it was the intention of the surrendering state to allow extradition for a
  particular offense, and in so doing, to determine whether that offense exists in the


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  surrendering state. By implication, the Ninth Circuit suggested that U.S. courts, in cases of
  ambiguity, put themselves in the place of the surrendering state‫އ‬s courts to determine first
  the existence of dual criminality and second, based on the first determination, what the
  limits of specialty are. The court held:

        As a matter of international comity, ‫[ފ‬t]he doctrine of ‫ކ‬specialty‫ އ‬prohibits the
        requesting nation from prosecuting the extradited individual for any offense other
        than that for which the surrendering state agreed to extradite.‫ ދ‬Van Cauwenberghe,
        827 F.2d at 428 (quoting Quinn, 783 F.2d at 783). See United States v. Rauscher,
        119 U.S. 407, 419‫ށ‬421, 7 S.Ct. 234, 240‫ށ‬241, 30 L.Ed. 425 (1886).
        Khan contends that Pakistan agreed to extradite him on the basis of Count II, but
        not on Count VIII of the superceding indictment. Khan contends that the Pakistani
        extradition documents do not specifically refer to the allegations of Count VIII and
        therefore his conviction on Count VIII should be dismissed.
        The parties have provided two Pakistani documents, an Enquiry Report from a
        Deputy Commissioner Enquiry Officer dated February 14, 1990 (‫ފ‬commissioner‫އ‬s
        report‫ )ދ‬and a judgment (p. 558) from the Lahore High Court at Lahore dated
        March 4, 1990 (this document is incomplete). The commissioner‫އ‬s report refers
        three times to 21 U.S.C. § 963 (the violation alleged in Count II) and makes no
        reference to 21 U.S.C. § 843 or 18 U.S.C. § 2 (the violations alleged in Count VIII).
        The Lahore judgment refers once to 21 U.S.C. § 963 and makes no reference to 21
        U.S.C. § 843 or 18 U.S.C. § 2.
        The Pakistani commissioner‫އ‬s report lists the documents received from the United
        States in connection with the extradition request. These documents included copies
        of the Stewart affidavit, which described the charges in Counts II and VIII, and the
        superceding indictment. The list in the report specifically noted that ‫ފ‬the indictment
        relating to [Khan] is with regard to count No. II and VIII.‫ ދ‬In addition, the
        commissioner‫އ‬s report reviews the factual background of the extradition request
        including the various telephone calls between Khan and his codefendants
        throughout the course of the conspiracy. The commissioner stated that he had
        carefully examined the evidence presented by the prosecution.
        The magistrate judge determined that the Pakistani commissioner had considered
        all the evidence presented by the United States, including the Stewart affidavit and
        Count VIII in the superceding indictment. Relying on United States v. Sensi, 879 F.
        2d 888, 896 (D.C Cir. 1989), the magistrate judge found the reference to the
        evidentiary materials sufficient to satisfy the doctrine of specialty. The district court
        found that it was ‫ފ‬quite clear that the United States Government requested
        extradition on Count VIII, and that the Magistrate in Pakistan considered
        extradition on Count VIII and granted it.‫ދ‬
        The opinion in United States v. Sensi is not dispositive. In Sensi, 879 F.2d at 896,
        the D.C. Circuit focused on the evidence submitted with the United States‫ އ‬request
        for extradition and found it sufficient to support each count of the indictment. The
        British magistrate (England was the surrendering country) had not delineated the
        United States counts for which the defendant was extraditable, but had concluded
        that the defendant was extraditable. The magistrate found that 18 charges of theft
        were made out by the evidence under United Kingdom law. Id. at 892. The British
        magistrate had received a copy of the United States indictment. Id. at 896.




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        In Sensi, however, the operative extradition treaty contained the following
        language: ‫ކފ‬A person extradited shall not be [prosecuted]...for any offense other
        than an extraditable offense established by the facts in respect of which his
        extradition has been granted.‫ ދއ‬Id. at 895 (quoting 28 U.S.T. 233). The operative
        treaty in this case contains the following language: ‫ފ‬A person surrendered can in no
        case be [prosecuted]...for any other crime or offence, or on account of any other
        matters, than those for which the extradition shall have taken place.‫ ދ‬Extradition
        Treaty, December 22, 1931, art. 7, 47 Stat. 2124. We are not convinced that the
        doctrine or specialty is satisfied under all treaties as long as the prosecution is
        based on the same facts as those set forth in the request for extradition.
        Language from our opinions in Van Cauwenberghe and Quinn, ‫ފ‬for any offense
        other than that for which the surrendering state agreed to extradite,‫ ދ‬suggests the
        need for an affirmative statement by the surrendering country of the counts upon
        which extradition is based. In United States v. Merit, 962 F.2d 917, 923 (9th Cir.),
        cert. denied, 506 U.S. 85, 113 S.Ct. 244, 121 L.Ed.2d 178 (1992), the South African
        Supreme Court affirmatively found the defendant extraditable on Count 1 and
        Count 14 of the indictment. The South African Supreme Court‫އ‬s ruling was initially
        ambiguous regarding the other 12 counts for which the defendant was indicted. The
        United States requested clarification and the South African Department of Justice
        confirmed that the defendant was extraditable on Counts 1 and 14. Id. at 920. We
        found that the United States had adhered to the specialty requirement of the treaty
        because the defendant was tried and convicted of only those two counts. Id. at 923.
        The extradition materials do not indicate that Pakistan unambiguously agreed to
        extradite Khan on both Counts II and VIII. The magistrate judge found it persuasive
        that ‫ފ‬the commissioner‫އ‬s report does not suggest that Khan ought not to be
        extradited on the charge contained in Count VIII.‫ ދ‬But we will not infer an
        agreement to extradite from Pakistan‫އ‬s silence concerning Count VIII. [Citation
        omitted.]
        (p. 559) The government notes that the Pakistani commissioner directed that Khan
        could be ‫ފ‬surrendered over to the authorities in the U.S.A. for trial under the
        relevant American Law.‫ ދ‬It is possible that the Pakistani commissioner was referring
        to the relevant American law of 21 U.S.C. § 963 (in Count II). It is also possible that
        Pakistan did not find the charges in Count VIII worthy of extradition. See generally
        United States v. Rauscher, 119 U.S. 407, 420‫ށ‬21, 7 S.Ct. 234, 241, 30 L.Ed. 425
        (1886) (defendant extradited on murder charges could not be prosecuted for lesser
        offense of cruel and unusual punishment, which was not listed in the extradition
        treaty).
        Because Pakistan did not unambiguously agree to extradite Khan on the basis of
        Count VIII, the doctrine of specialty has not been satisfied. Khan‫އ‬s conviction on
        Count VIII should be reversed and dismissed.293

  Another factor that adds to the present state of confusion is that U.S. judicial decisions
  frequently combine several issues arising under specialty without clearly distinguishing
  them for purposes of the ruling. Some cases also confuse issues of dual criminality and
  evidence in the context of specialty, while also discussing standing without clearly
  separating these different legal questions. The discussion of relevant cases that follows in
  this section reveals the extent to which these issues can are interrelated.




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  As stated above, in order to prosecute a relator in the United States for an offense at
  variance with the offense for which the extradition request was granted, the United States
  must obtain the consent of the requested state while the relator is still in U.S. custody for
  the offense for which extradition was granted.294 But the United States does not proceed
  that way. Instead, it proceeds with prosecution based on other charges arising out of
  superseding indictments, and then argues that these charges satisfy specialty and dual
  criminality. It is this unfortunate hasty practice that brings about so many problems. The
  better practice would be for the prosecutor to convey his/her intentions to the Department
  of Justice‫އ‬s OIA, and let that office seek a supplemental extradition request or ask the
  surrendering state for clarification and authorization to proceed. That additional procedural
  demarche would clearly improve judicial economy and prevent unnecessary delays.
  In United States v. Diwan,295 the court held that the relator could be prosecuted on a
  conspiracy count notwithstanding her original extradition for only theft-related offenses, as
  the record of the case showed that the United Kingdom consented to the prosecution for the
  other lesser or related offenses. The Magistrates‫ އ‬Court in London had dismissed the
  conspiracy charge after conducting an evidentiary hearing to determine whether the
  offenses charged were triable (p. 560) offenses in the United Kingdom. The magistrate
  rejected the United States‫ އ‬argument that the conspiracy alleged in the indictment would
  justify committal in the United Kingdom if the offenses charged had been committed there.
  The extradition was, however, granted after the magistrate determined that the offense of
  mail fraud is analogous to the crime of theft.
  The relator challenged prosecution on the conspiracy charges by arguing that the offenses
  for which she was extradited did not include conspiracy, as the UK magistrate had only
  detained her for the theft-related offenses. The court found this argument to be without
  merit because diplomatic correspondence between the two states indicated that the United
  Kingdom did not regard the prosecution of Diwan on the conspiracy count a breach of the
  extradition treaty. A letter from the UK‫އ‬s Secretary of State for the Home Office, who had
  the ultimate authority to determine whether extradition would be allowed, responded to a
  request for confirmation that the United Kingdom did not object to the prosecution of the
  defendant on all counts in the indictment by stating:

        I can therefore confirm your understanding of that decision and of the surrender
        warrant subsequently signed by the Secretary of State. Accordingly...I am able to
        confirm that the United Kingdom has no objection to the indictment of Ms. Diwan as
        proposed.296

  The court held that the diplomatic correspondence between the two states unequivocally
  showed that the United Kingdom consented to the prosecution of Diwan on the conspiracy
  count. Therefore, the government could proceed with the prosecution of the relator on all
  counts in the original indictment.

  A 2009 case elucidating this practice was United States v. Iribe,297 where the relator
  challenged his prosecution under a second superseding indictment. The Mexican Supreme
  Court granted the relator‫އ‬s extradition for conspiracy to maim a person in a foreign country,
  but not for conspiracy to kill and kidnap a person in a foreign country insofar as those
  crimes carried the potential for a life sentence.298 Nonetheless, a U.S. federal grand jury
  returned a second superseding indictment including conspiracy to kidnap and attempted
  kidnapping.299 The government of Mexico delivered a diplomatic note in which it specified
  that:




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        The Foreign Ministry does not object to the reclassification of the crime pursuant to
        Article 17.2, paragraphs a) and b) of the Extradition treaty between the United
        Mexican States and the United States of America.300

  The court read this diplomatic note and the Mexican Supreme Court decision to show that
  Mexico had explicitly agreed to prosecution on the new charges, which did not carry a life
  sentence.

  Specialty also means that if the relator is acquitted of the extradition offense, he/she must
  be allowed to leave the country without hindrance, and he/she cannot be charged or even
  served with additional criminal charges while in the country.302 The relator must be given a
  reasonable amount of time to leave voluntarily, and cannot be denied the right to return to
  his/her (p. 561) country of nationality, the state from which he/she was extradited if that
  state gives him/her permission, or any other state of his/her choice that gives him/her
  permission. The individual cannot be forced to go to a state that he/she does not wish to go
  to, nor can the United States use immigration laws to deport him/her or force ‫ފ‬involuntary
  departure‫ ދ‬upon him/her to send him/her to a country that may be seeking him/her for
  further prosecution.303 The same rules apply to situations where the relator was tried and
  convicted for the extradition offense and has served the required sentence and been
  released. In these cases, he/she must be given the opportunity to leave the requesting state
  before he/she can be detained or tried for another offense, except for any offense he/she
  may have committed while in the United States after his/her surrender. In either case, when
  the relator has served the required sentence or been acquitted of the extradition offense,
  the requested state loses jurisdiction over the relator. Thus, if the requesting state seeks to
  obtain consent after acquittal or after completion of the sentence to prosecute the relator
  for an unrelated offense, such consent would be invalid as the requested state can no longer
  exercise any authority over the relator. Even in cases in which a timely request for the
  consent of the requested state is made, the requesting state should determine whether
  consent has been granted by the appropriate authority of the requested state. Thus, if the
  proper authority in the originally requested state is a judicial one, the authorization cannot
  be granted by an administrative authority. For example, the appropriate authority in France
  is the chambre de mises en accusation of the Court of Appeals, and in Italy it is the
  counterpart chamber of the Court of Appeals of the judicial district where the relator was
  found. Only that judicial authority can grant a supplemental extradition request. But in one
  case, involving Italy, the United States requested and obtained a purported supplemental
  authorization from an official in the ministry of justice to prosecute the relator in formal
  extradition proceedings for another crime after the relator was acquitted of the original
  charges. But because the official, a judge in the ministry, was not the appropriate legal
  authority, the purported authorization was deemed invalid and the relator was allowed to
  leave the country.304
  A question arises, however, as to whether the requesting state may, subsequent to the
  prosecution of an accused surrendered for a particular crime, re-extradite such a person to
  another state that may request his/her extradition, without seeking permission from the
  state that originally extradited him/her.305 In other words, if State A requests the
  extradition of an individual from State B for crime X and extradition is granted, can State A
  re-extradite such a person to State C, which requests his/her extradition from State A for
  crime Y, without first securing the permission of State B? The answer depends on whether
  State B has a continuing interest in the accused. Such an interest could be that he/she is a
  citizen of State B or that State B granted the request of State A even though it could have
  prosecuted that individual for a crime in State B, or that State B waived its opportunity to
  retain jurisdiction over him/her for a criminal investigation or as a witness in another trial.
  Presumably once the individual is extradited, State B loses jurisdiction over him/her and its
  only surviving interest is to ensure that its processes have been used in a manner that


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  complies with the principle of specialty. However, as extradition depends on a treaty and
  the requested state may grant it on the basis of certain policy considerations in those
  interests described above, its interest in such a person may survive with respect to re-
  extradition. However, such a survival of interest theory should depend on the condition that
  State A knew (p. 562) or had reasonable grounds to know that State C would ask it for the
  re-extradition of the relator at the time it made its request to State B. Otherwise the
  process of re-extradition would always be subject to the approval of the originally requested
  state, which would render the process of re-extradition too cumbersome. A better approach
  would be to regulate such practices by treaty, which is not the case under existing U.S.
  extradition treaties.
  Another problem arises with respect to cases involving extradition by comity, in whole or in
  part. In 1972, the Second Circuit in Fiocconi v. Attorney General of the United States306
  affirmed the specialty principle even in cases of surrender by comity, by holding that the
  principle ‫ފ‬reflects a fundamental concern of governments that persons who are
  surrendered should not be subject to indiscriminate prosecution by the receiving
  government.‫ދ‬307 But the Second Circuit held that the application of the principle, when
  surrender is by comity, is primarily designed to inure to the benefit of the requested state.
  Thus, in such cases (in the Second Circuit) the surrendered person lacks standing to raise
  the issue unless the surrendering state protests, or when the prosecution breaks faith with
  the purposes of the surrender by comity. In that case, appellants, both French nationals,
  were originally indicted in the District Court of Massachusetts for conspiring to import
  heroin in violation of 21 U.S.C. § 171. Warrants at that time could not be executed, but the
  appellants were later found in Italy. The appellants were extradited from Italy to the United
  States on charges of importing heroin into the United States. Acknowledging that there was
  no provision for narcotic offenses in the 1868 Extradition Convention with Italy, 15 Stat.
  269 and subsequent amendments, the Italian government granted extradition as an act of
  comity, independent of the treaty.
  After the appellants were returned to the United States and released on $250,000 bail in
  the District of Massachusetts, they were subpoenaed to appear before a grand jury in the
  Southern District of New York. When they appeared, they were arrested under an
  indictment issued that day charging them with receiving, concealing, selling, and
  facilitating the transportation, concealment, and sale of thirty-seven kilograms of heroin in
  New York. Bail was set at $100,000, which neither could post. Appellants filed a petition for
  a writ of habeas corpus on the ground that their detention was on charges other than those
  for which they were extradited. The Southern District of New York, meanwhile, returned a
  superseding indictment charging appellants with conspiracy to violate the narcotics laws
  and two other substantive offenses. The petition for their release was denied, and they were
  tried on these charges and found guilty.
  When the Second Circuit revisited the Supreme Court‫އ‬s decision in United States v.
  Rauscher,308 it stated:

        (p. 563) Rauscher‫އ‬s conviction of an offense for which he was not and could not
        have been extradited did not violate the treaty, which was silent as to the rights of a
        person extradited thereunder; it violated a rule of what we would now call United
        States foreign relations law devised by the courts to implement the treaty.309

  Judge Henry Friendly saw no reason in principle to apply specialty when extradition has
  been granted by an act of comity by the surrendering nation, unless the prosecuting state
  acted in a way that would be deemed a breach of an implicit or explicit understanding
  between the United States and the surrendering state.




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  The court found that the remedy enunciated in Rauscher310 must be applied in the context
  for which it was designed, in that the principle of specialty imposes limitations upon the
  requesting state not to prosecute the relator for any offense other than that for which he
  was surrendered in the context of extradition. The object of this rule is to prevent the
  requesting state from violating its international obligations vis-à-vis the surrendering state.
  By analogy, therefore, it was essential in Fiocconi311 to determine whether the surrendering
  state would regard the prosecution at issue as a breach of its relations with the United
  States. In the absence of any affirmative protest from Italy, the court did not believe that
  the government would regard as a breach of faith by the United States the prosecution of
  appellants for subsequent offenses of the same character as the crime for which they were
  extradited.
  Although the United States had not made a preliminary showing in Italy with respect to the
  New York indictment, as it did concerning the one in Massachusetts, the court noted:

        [W]e presume the United States is willing to submit such proof if Italy desires it,
        and with appellants now having been found guilty, there can scarcely be doubt that
        sufficient proof to warrant extradition exists.312

  Fiocconi was later followed by the Fifth Circuit in United States v. Kaufman. In that case,
  two relators, the Franks brothers, were originally brought to the United States after an
  arrest in Mexico by DEA agents and Mexican federal judicial police to face charges in
  Louisiana under a January 1986 indictment for participating in a drug conspiracy. After a
  trial conviction of one brother and dismissal of charges against the other, both brothers
  were transferred to Texas to face charges pursuant to a July 1986 indictment for various
  other drug offenses.

  As in Fiocconi, the relators argued their detention and trial on the second Texas indictment
  were in violation of the CIL principle of specialty. The Franks brothers argued that because
  they had been extradited to the United States for the Louisiana charge, the district court in
  Texas lacked personal jurisdiction to detain or prosecute them, as Mexico had not granted
  extradition on the basis of these offenses. The court rejected this contention and followed
  Fiocconi for the basic principle that specialty preserves the requesting state from a breach
  of faith by the requested state whether or not the surrendering state acted pursuant to a
  treaty. The remedy required a determination of whether Mexico would regard the
  prosecution for the Texas indictment a breach of the United States‫ އ‬international obligations
  toward Mexico.
  The court held that, given the nature of the charges alleged in Louisiana, the indictment
  was identical in character to the nature of the charges alleged in the Texas indictment.
  Given that (p. 564) Mexico made no protest against the prosecution of the Franks brothers
  in Texas, the court concluded that no basis existed to conclude that Mexico was or had
  reason to be offended by the Texas prosecution, and therefore no breach of the treaty‫އ‬s
  provisions existed.
  This view of specialty fails to take into account the relator as a participant in the extradition
  process and his/her right to uphold such a doctrine when a requested state acts at variance
  with an extradition order, regardless of whether the surrendering state deems such actions
  a breach of trust, or a breach of international relations. But it is important to note that if the
  relator is given the right (i.e., standing) to raise the question, and the Court‫އ‬s legal standard
  is whether the variance constituted a breach of faith with the surrendering state or of a rule
  of CIL, then the rights of the relator are properly guaranteed.314 Thus, Fiocconi stands for




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  the proposition that comity can supplement existing treaty practice, but by implication,
  comity does carry with it the same limitations as does treaty-based extradition.
  United States v. Najohn315 is a further example of a case in which specialty did not bar the
  prosecution of the defendant for an additional offense not contained in the original
  indictment, but to which the surrendering state agreed. Indeed it is well-established that a
  surrendering state can waive specialty without the relator‫އ‬s consent or knowledge unless
  the law of the surrendering state requires it. In Najohn the defendant was convicted in
  Pennsylvania on the charges for which he was extradited, namely interstate transportation
  of stolen property in violation of 18 U.S.C § 2314. While serving his sentence, the Northern
  District of California indicted Najohn for the same charge as well as for the receipt of stolen
  property and conspiracy.316 The defendant moved to dismiss the indictment, arguing that
  the California charges were barred by the extradition treaty between the United States and
  Switzerland, as well as by specific language in the Swiss court‫އ‬s extradition order.
  The principle of specialty, as contained in the extradition treaty between the United States
  and Switzerland, however, contained a specific provision relating to specialty, which
  defeated the defendant‫އ‬s argument, namely that ‫[ފ‬T]he extradited party may be tried for a
  crime other than that for which he was surrendered if the asylum country consents.‫ދ‬317 Two
  letters regarding the original charge from the Magistrate of the District Court of Zurich and
  from the Swiss Embassy to the United States asking and agreeing that the principle of
  specialty be suspended were deemed to have authorized the waiver of the rule. In response
  to the defendant‫އ‬s argument that this was not sufficient proof of consent, the court stated:
  ‫ފ‬Najohn suggests no reason why the requirement for Swiss consent to prosecution for these
  crimes should be more rigorous now that he is already in United States custody.‫ދ‬318 The
  defendant‫އ‬s motion was thus denied.
  The legislative requirement that the United States grant extradition only by virtue of a
  treaty provides a guarantee to the relator that the provisions of the treaty will be applied.
  This position was developed in United States v. Rauscher.319 The rule in the United States is
  that the (p. 565) principle of specialty is a part of CIL as recognized and applied in the
  United States.320 In United States v. Paroutian,321 the court held that ‫[ފ‬T]he test whether
  trial is for a ‫ކ‬separate offense‫ އ‬should not be some technical refinement of local law, but
  whether the extraditing country would consider the offense actually tried ‫ކ‬separate.‫ދއ‬322 As
  further stated in Fiocconi v. Attorney General:323 ‫ފ‬The ‫ކ‬principle of specialty‫ އ‬reflects a
  fundamental concern of governments that persons who are surrendered should not be
  subjected to indiscriminate prosecution by the receiving government...‫ދ‬324
  Evidentiary issues are also raised as a part of specialty in connection with dual criminality
  and double jeopardy. In United States v. Saccoccia325 an interlocutory appeal before the
  Ninth Circuit was dismissed because the issues could be raised on appeal. Because the case
  had originated in Rhode Island, the appeal was before the First Circuit, which summarily
  rejected these claims, confusing the requirements of dual criminality and specialty. The
  First Circuit held that:

        Although the principles of dual criminality and specialty are closely allied, they are
        not coterminous. We elaborate below.

             1. Dual Criminality. The principle of dual criminality dictates that, as a general
             rule, an extraditable offense must be a serious crime (rather than a mere
             peccadillo) punishable under the criminal laws of both the surrendering and
             the requesting state. See Brauch v. Raiche, 618 F.2d 843, 847 (1st Cir. 1980).
             The current extradition treaty between the United States and Switzerland




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             embodies this concept. See Treaty of Extradition, May 14, 1900, U.S.‫ށ‬Switz.,
             Art. II, 31 Stat. 1928, 1929‫ށ‬30 (Treaty).
             The principle of dual criminality does not demand that the laws of the
             surrendering and requesting states be carbon copies of one another. Thus,
             dual criminality will not be defeated by differences in the instrumentalities or
             in the stated purposes of the two nations‫ އ‬laws. See Peters v. Egnor, 888 F.2d
             713, 719 (10th Cir. 1989). By the same token, the counterpart crimes need not
             have identical elements. See Matter of Extradition of Russell, 789 F.2d 801,
             803 (9th Cir. 1986). Instead, dual criminality is deemed to be satisfied when
             the two countries‫ އ‬laws are substantially analogous. See Peters, 888 F.2d at
             719; Brauch, 618 F.2d at 851. Moreover, in mulling dual criminality concerns,
             courts are duty bound to defer to a surrendering sovereign‫އ‬s reasonable
             determination that the offense in question is extraditable. See Casey v.
             Department of State, 299 U.S. App. D.C. 29, 980 F.2d 1472, 1477 (D.C. Cir.
             1992) (observing that an American court must give great difference to a
             foreign court‫އ‬s determination in extradition proceedings); United States v. Van
             Cauwenberghe, 827 F.2d 424, 429 (9th Cir. 1987) (similar) cert. denied, 484
             U.S. 1042, 98 L. Ed. 2d 859, 108 S. Ct. 773 (1988).
             (p. 566) Mechanically, then, the inquiry into dual criminality requires courts to
             compare the law of the surrendering state that purports to criminalize the
             charged conduct with the law of the requesting state that purports to
             accomplish the same result. If the same conduct is subject to criminal
             sanctions in both jurisdictions, no more is exigible. See United States v. Levy,
             905 F.2d 326, 328 (10th Cir. 1990), cert. denied, 498 U.S. 1049, 112 L. Ed. 2d
             778, 111 S. Ct. 759 (1991); see also Collins v. Loisel, 259 U.S. 309, 312, 66 L.
             Ed. 956, 42 S. Ct. 469 (1992) (‫ފ‬It is enough [to satisfy the requirement of dual
             criminality] if the particular act charged is criminal in both jurisdictions.‫)ދ‬.
             2. Specialty. The principle of specialty‫ނ‬a corollary to the principle of dual
             criminality, see United States v. Herbage, 850 F.2d 1463, 1465 (11th Cir.
             1988), cert. denied, 489 U.S. 1027, 103 L. Ed. 2d 217, 109 S. Ct. 1158 (1989)
             ‫ނ‬generally requires that an extradited defendant be tried for the crimes on
             which extradition has been granted, and none other. See Van Cauwenberghe,
             827 F.2d at 428; Quinn v. Robinson, 783 F.2d 776, 783 (9th Cir.) cert. denied,
             479 U.S. 882, 93 L. Ed. 2d 247, 107 S. Ct. 271 (1986). The extradition treaty
             in force between the United States and Switzerland embodies this concept,
             providing that an individual may not be ‫ފ‬prosecuted or punished for any
             offense committed before the demand for extradition, other than that for
             which the extradition is granted....‫ ދ‬Treaty, Art. IX.
             Enforcement of the principle of specialty is founded primarily on international
             comity. See United States v. Thirion, 813 F.2d 146, 151 (8th Cir. 1987). The
             requesting state must ‫ފ‬live up to whatever promises it made in order to obtain
             extradition‫ ދ‬because preservation of the institution of extradition requires the
             continuing cooperation of the surrendering state. United States v. Najohn, 785
             F.2d 1420, 1422 (9th Cir.) (per curiam), cert. denied, 479 U.S. 1009, 93 L. Ed.
             2d 707, 107 S. Ct. 652 (1986). Since the doctrine is grounded in international
             comity rather than in some right of the defendant, the principle of specialty
             may be waived by the asylum state. See id.




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             Specialty, like dual criminality, is not a hidebound dogma, but must be applied
             in a practical, commonsense fashion. Thus, obeisance to the principle of
             specialty does not require that a defendant be prosecuted only under the
             precise indictment that prompted his extradition, see United States v.
             Andonian, 29 F.3d 1432, 1435-36 (9th Cir. 1994), cert. denied, 130 L. Ed. 2d
             883, 115 S. Ct. 938 (1995), or that the prosecution always be limited to
             specific offenses enumerated in the surrendering state‫އ‬s extradition order, see
             Levy, 905 F.2d at 329 (concluding that a Hong Kong court intended to
             extradite defendant to face a continuing criminal enterprise charge despite
             the court‫އ‬s failure specifically to mention that charge in the deportation
             order). In the same vein, the principle of specialty does not impose any
             limitation on the particulars of the charges lodged by the requesting nation,
             nor does it demand departure from the forum‫އ‬s existing rules of practice
             (such as rules of pleading, evidence, or procedure). See United States v.
             Alvarez-Moreno, 874 F.2d 1402, 1414 (11th Cir. 1989), cert. denied, 494 U.S.
             1032 (1990); Thirion, 813 F.2d at 153; Demjanjuk v. Petrovsky, 776 F.2d 571,
             583 (6th Cir. 1985), cert. denied, 475 U.S. 1016, 89 L. Ed. 2d 312, 106 S. Ct.
             1198 (1986).
             In the last analysis, then, the inquiry into specialty boils down to whether,
             under the totality of the circumstances, the court in the requesting state
             reasonably believes that prosecuting the defendant on particular charges
             contradicts the surrendering state‫އ‬s manifested intentions, or, phrased
             another way, whether the surrendering state would deem the conduct for
             which the requesting state actually prosecutes the defendant as
             interconnected with (as opposed to independent from) the acts for which he
             was extradited. See Andonian, 29 F.3d at 1439; United States v. Cuevas, 847
             F.2d 1417, 1427‫ށ‬28 (9th Cir. 1988), cert. denied, 489 U.S. 1012, 103 L. Ed. 2d
             185, 109 S. Ct. 1122 (1989); United States v. Paroutian, 299 F.2d 486, 490‫ށ‬91
             (2d Cir. 1962).
             A district court‫އ‬s interpretation of the principles of dual criminality and
             specialty traditionally involves a question of law and is, therefore, subject to
             plenary review in the court of appeals. See Andonian, 29 F.3d at 1434; United
             States v. Khan, 993 F.2d 1368, 1372 F.2d 1168, 1173 (10th Cir. 1991), cert.
             denied, 113 S. Ct. 107 (1992). Marching beneath this banner, appellant urges
             that his conviction must be set aside for three related reasons. (There is some
             dispute whether alleged violations of the principle of specialty can be raised
             by a criminal defendant. See, e.g., Demjanjuk, 776 F.2d at 583‫ށ‬84
             (questioning whether the person being extradited (p. 567) ‫ފ‬has standing to
             assert the principle of specialty‫ ;)ދ‬Kaiser v. Rutherford, 827 F. Supp. 832, 835
             (D.D.C. 1993) (asserting that ‫ފ‬the rule of specialty is not a right of the
             accused but is a privilege of the asylum state and therefore [the defendant]
             has no standing to raise this issue‫( )ދ‬internal quotation marks omitted). We
             need not probe the matter of standing for three reasons.
             First, while we take no view of the issue, we realize that there are two sides to
             the story, and the side that favors individual standing has much to commend
             it. See, e.g., United States v. Rauscher, 119 U.S. 407, 422-24, 30 L. Ed. 425, 7
             S. Ct. 234 (1886) (referring to specialty as a ‫ފ‬right conferred upon persons
             brought from a foreign country‫ ދ‬via extradition proceedings); Thirion, 813 F.
             2d at 151 & n. 5 (to like effect); see also United States v. Alvarez-Machain,




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             504 U.S. 655, 659‫ށ‬60, 119 L. Ed. 2d 441, 112 S. Ct. 2188 (1992) (suggesting
             the continuing vitality of the Rauscher decision).
             Second, the government has advised us that, for policy reasons, it does not
             challenge appellant‫އ‬s standing in this instance. Third, appellant‫އ‬s
             asseverations are more easily dismissed on the merits. See Norton v.
             Mathews, 427 U.S. 524, 532, 49 L. Ed. 2d 672, 96 S. Ct. 2771 (1976)
             (explaining that jurisdictional questions may be bypassed when a ruling on
             the merits will achieve the same result). None has merit.‫ ދ‬326


  In these cases, the defendants, Stephen and Donna Saccoccia, were extradited from
  Switzerland on money laundering and RICO charges, but the requested state refused to
  grant extradition on CTR violations. In the Rhode Island prosecution, the government
  introduced evidence of CTR violations to prove the necessary predicates for RICO. The
  question therefore was whether evidence that cannot be used to prove guilt can be used to
  prove a predicate crime without which conviction of the more serious crime cannot be
  obtained. The defense argued against it, in part in reliance upon United States v. Najohn.
  The prosecution relied on United States v. Thirion, United States v. Kember, United States v.
  Archhold-Newball, United States v. Flores, and more particularly United States v. Alvarez-
  Moreno. Thirion held that ‫ފ‬the doctrine of specialty does not purport to regulate the scope
  of proof admissible in the judicial forum of the requisitioning state.‫ދ‬

  It is indeed entirely valid that specialty does not control the admissibility of evidence
  needed to prove a crime for which extradition was granted. To hold otherwise would
  unjustifiably burden extradition requests with details of evidence intended to be introduced
  at trial. But there is nonetheless a distinction to be drawn between evidence needed to
  prove a crime for which extradition was granted and evidence of criminality for a crime that
  has been specifically excluded from the extradition granted by the requested state.334 This
  is particularly significant (p. 568) with respect to RICO prosecutions, which are predicated
  on other crimes whose exclusion from prosecution by specialty should also be excluded
  from being used as evidence to prove a predicate offense, because the predicate offense
  cannot be charged as a crime. But without proof of guilt the legal elements of the ultimate
  crime cannot be proven. This situation is due to the nature and peculiarity of RICO, which
  relies on predicate offenses to create a new crime that is, ultimately, only a legislative
  fiction designed to enhance the penalties for persons who engage in multiple crimes of a
  certain type.
  Applying specialty to evidentiary matters, the district court in United States v. Kember335
  found no requirement that evidence admitted at the trial of a relator extradited from the
  United Kingdom to the United States be limited to the evidence presented at the relator‫އ‬s
  extradition hearing. The Kember court noted that the scope of proof admissible into
  evidence in the requesting state was broadly interpreted in United States v. Flores,336
  which did not bar admissibility of evidence of prior offenses even though prosecution for
  such offenses was barred by the principle of specialty or other preclusions to prosecution.
  The complexity of statutes such as RICO, money laundering, CTR requirements, and CCE in
  drug-related crimes frequently causes the government to issue superseding indictments
  after the surrender of a relator. In those cases, the United States can make a supplemental
  request to the requested state in order to obtain permission to prosecute on the new,
  additional, or altered charges. More commonly, these superseding indictments add newly
  discovered facts or refine the charges on the basis of which extradition was requested.
  These situations present mixed questions of law and fact. Where only questions of fact and
  supporting evidence arise, they usually are found not to be in violation of specialty. If the
  superseding indictment alters the charges to lesser ones, though still in reliance on the
  same substantial or essential facts, specialty is also not deemed to be violated. But, if the

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  charges or facts are substantially different, then there is a violation of specialty. Because of
  the mixed question of law and fact, and also because treaty provisions differ, court decisions
  vary. United States v. Andonian337 reviews some of these problems:

        We review de novo the district court‫އ‬s determination that the prosecution on the
        superseding indictment did not violate the doctrine of specialty. United States v.
        Khan, 993 F.2d 1368, 1372 (9th Cir. 1993).
        ‫ފ‬The doctrine of ‫ކ‬specialty‫ އ‬prohibits the requesting nation from prosecuting the
        extradited individual for any offense other than that for which the surrendering
        state agreed to extradite.‫( ދ‬p. 569) United States v. Van Cauwenberghe, 827 F.2d
        424, 428 (9th Cir. 1987), cert. denied, 484 U.S. 1042, 108 S.Ct. 773, 98 L.Ed.2d 859
        (1988).338 The doctrine is based on principles of international comity: to protect its
        own citizens in prosecutions abroad, the United States guarantees that it will honor
        limitations placed on prosecutions in the United States. United States v. Cuevas,
        847 F.2d 1417, 1426 (9th Cir. 1988), cert. denied, 489 U.S. 1012, 109 S.Ct. 1122,
        103 L.Ed.2d 185 (1989). Our concern is with ensuring that the obligations of the
        requesting nation are satisfied. United States v. Najohn, 785 F.2d 1420, 1422 (9th
        Cir.), cert. denied, 479 U.S. 1009, 107 S.Ct. 652, 93 L.Ed.2d 707 (1986). ‫ފ‬Because of
        this, the protection exists only to the extent that the surrendering country wishes.‫ދ‬
        Id. An extradited person may raise whatever objections the extraditing country is
        entitled to raise. Cuevas, 847 F.2d at 1426; Najohn, 785 F.2d at 1422.
        We look to the language of the applicable treaty to determine the protection an
        extradited person is afforded under the doctrine of specialty. The treaty with
        Uruguay, pursuant to which Vivas was extradited, provides:
              A person extradited under the present Treaty shall not be detained, tried or
              punished in the territory of the requesting Party for an offense other than that
              for which extradition has been granted...unless...the requested Party has
              manifested its consent to his detention, trial or punishment for an offense
              other than that for which extradition was granted....

        Treaty on Extradition and Cooperation in Penal Matters, April 6, 1973, U.S.‫ށ‬Uru.,
        art. 13, T.I.A.S. No. 10850 at 17‫ށ‬18 [hereinafter ‫ފ‬Treaty‫]ދ‬. An extradited person, in
        any case, ‫ފ‬may be tried for a crime other than that for which he was surrendered, if
        the asylum country consents.‫ ދ‬Najohn, 785 F.2d at 1422 (quoting Berenguer v.
        Vance, 473 F.Supp. 1195, 1197 (D.D.C.1979) (emphasis in original)).
        ...
        We agree with the government that the appropriate test for this case is ‫ފ‬whether
        the extraditing country would consider the acts for which the defendant was
        prosecuted as independent from those for which he was extradited.‫ ދ‬Cuevas, 847 F.
        2d at 1428 (citing United States v. Paroutian, 299 F.2d 486, 491 (2d Cir. 1962)).339
        ...
        Vivas argues that the doctrine of specialty was further violated because he was not
        tried on the same facts as those presented to the government of Uruguay.
        Specifically, he asserts that the United States convinced Uruguay with insufficient
        and false evidence that Vivas was involved in drug trafficking and that the United
        States then tried him on different evidence.
        The doctrine of specialty has been interpreted as requiring that ‫ފ‬the prosecution be
        based on the same facts as those set forth in the request for extradition.‫ ދ‬United
        States v. Sensi, 879 F.2d 888, 895-96 (D.C.Cir.1989) (quotation omitted). The
        defendant in Sensi argued that he could not be tried on a 26-count indictment
        naming offenses that had not been listed before the magistrate of the surrendering

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        country. The court found that the language of the treaty required that the charges
        against the defendant be established ‫ފ‬by the facts in respect of which his
        extradition [was] granted.‫ ދ‬Id. at 896 (quoting the relevant treaty).
        ...
        Second, we note that the doctrine of specialty ‫ފ‬has never been construed to permit
        foreign intrusion into the evidentiary or procedural rules of the requisitioning state,
        as distinguished from limiting the jurisdiction of domestic courts to try or punish
        the fugitive for any crimes committed before the extradition, except the crimes for
        which he was extradited.‫ ދ‬United States v. Thirion, 813 F.2d 146, 153 (8th Cir.
        1987) (quotations omitted). The doctrine of specialty is satisfied if the extraditing
        country honors the limitations placed on the prosecution by the (p. 570)
        surrendering state. See Cuevas, 847 F.2d at 1426. The government is not required,
        under the auspices of specialty, to try a defendant on the same evidence that was
        presented to the surrendering state, so long as it satisfies the requirement that trial
        is for the same offenses arising out of the same allegations of fact.340

  In United States v. Thirion, mentioned above, the Eighth Circuit held that this principle is
  not violated when the prosecution provides evidence at trial establishing a defendant‫އ‬s
  membership in a conspiracy even when the requested state claims that conspiracy is
  neither provided for under its laws nor included on the list of extraditable offenses. In this
  case, the United States requested extradition from Monaco for the return of Thirion to face
  charges relating to an advance fee loan scheme. Monaco agreed to Thirion‫އ‬s extradition for
  every offense except for conspiracy, as this crime is not provided for under the laws of
  Monaco, and is not included in the list of offenses giving rise to extradition under Article II
  of the bilateral Treaty. At trial, inclusion of the conspiracy count was sustained over the
  defendant‫އ‬s objections. However, the court instructed the jury not to return a verdict on this
  count. Consequently, on appeal the issue was whether the principle of specialty prohibits
  the government from establishing Thirion‫އ‬s membership in the conspiracy as an evidentiary
  fact to prove guilt in other substantive offenses. In stating that the principle does not
  prohibit the introduction and use of evidence of a crime for which extradition was denied,
  the court held that the principle is not construed to permit alteration of existing rules of
  evidence or procedure ‫ފ‬as distinguished from limiting the jurisdiction of domestic courts to
  try or punish the fugitive for any crimes committed before the extradition, except the
  crimes for which he was extradited.‫ ދ‬The Eleventh Circuit has relied on Thirion as an
  analog with regard to a defendant‫އ‬s challenge to a Pinkerton instruction with respect to a
  charge where the relator was extradited as a principal, and ruled ‫ފ‬that the doctrine of
  specialty did not prohibit the government from seeking to establish a defendant‫އ‬s
  membership in a conspiracy as an ‫ކ‬evidentiary fact to prove guilt‫ އ‬in connection with the
  offenses for which he had been extradited.‫ދ‬

  In another case, the court held that the surrendering government‫އ‬s silence regarding
  prosecution of the defendant on all the charges in the extradition request did not provide a
  basis to conclude that prosecution of the relator on all such charges in the extradition
  request was not indiscriminate. The court in Khan345 would not infer from Pakistan‫އ‬s silence
  concerning a particular count an agreement to extradite the relator on all counts in the
  extradition request where the extradition documents did not specifically refer to allegations
  of that count. The court held that the operative language of the treaty between the United
  States and Pakistan did not create a presumption that the principle of specialty would be
  satisfied in all cases where the prosecution is based on the same facts as those set forth in
  the request for extradition. The relevant provision of the treaty stated:




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        A person surrendered can in no case be [prosecuted]...for any other crime or
        offence, or on account of any other matters, than those for which the extradition
        shall have taken place.346

  The court concluded that this language suggests the need for an affirmative statement by
  the surrendering country on the counts upon which the extradition is based. Because
  Pakistan did not unambiguously agree to extradite Khan on the basis of the particular count
  in question, (p. 571) the principle of specialty had not been satisfied, and the court reversed
  Khan‫އ‬s conviction on this count.

  An earlier Second Circuit case, Shapiro v. Ferrandina,348 excluded prosecution in the
  requesting state for crimes committed before the request for extradition had been granted
  by the requesting state, if such crimes were not part of the extradition order. Nothing,
  however, precludes a requesting state from amending its request and including new
  offenses, provided they are within the meaning of the treaty and are offenses for which
  extradition can be granted. Similarly, nothing precludes a requesting state, which has
  received custody of an accused, from presenting a new request to the originally requested
  state for prosecuting the accused for another crime, and it would be the decision of the
  requested state to grant or deny it. In the United States such a procedure might require a
  new hearing, unless the new request is for a crime related to the one for which the original
  request was granted. This is particularly true with respect to any included offense.349
  In Berenguer v. Vance,350 where the United States was the extraditing state, the court
  consented to an expansion of an extradition order without a hearing before the final
  disposition of the accused‫އ‬s original case in Italy. Berenguer was extradited to Italy on a
  murder and aggravated battery charge, was acquitted, and subsequently arrested and
  detained following the U.S. government‫އ‬s consent to an expansion of the extradition order
  to include illegal possession of a military firearm. The court, in holding that a second
  hearing following extradition was not required, noted that ‫ފ‬the rule of specialty is not a
  right of the accused but is rather a privilege of the asylum state by which its interests are
  protected.‫ދ‬351 Thus, the court stated that:

        Although the charges on which petitioner was extradited differ from that under
        which he stands accused, the Court cannot say that he has been deprived of his due
        process rights. As long as petitioner, who is a French national, was within the
        jurisdiction of the United States, this judicial system acted to protect the full
        panoply of his rights as vigorously as it would the rights of any citizen. Once his
        extradition was accomplished, however, he became subject to the judicial process of
        the receiving nation and could no longer claim a right to a judicial hearing on due
        process grounds.... This is not to say that a defendant could never successfully
        argue that he has a right to a hearing before expansion of an extradition order. If,
        for instance, a judicial officer refused to find probable cause on a specific charge
        and the requesting country thereafter sought to obtain the asylum country‫އ‬s
        consent to try the defendant on that same charge after accomplishing his
        extradition for a different offense, a court‫އ‬s determination might be very different.
        Such a situation would raise the possibility of a deliberate effort to evade the
        safeguards established to protect the defendant‫އ‬s rights.352

  (p. 572) Additionally, the court noted that the doctrine of separation of powers compelled its
  decision, noting that:




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        Judge Friendly‫އ‬s observation in Shapiro v. Ferrandina, in commenting upon the
        American practice of refusing to try an extradited party for a crime other than one
        enumerated in a relevant treaty, seems particularly appropriate here:
        This self-imposed restraint, however, need not necessarily imply that in the
        converse situation, when courts of this country are examining an extradition
        request from a foreign nation, we should seek to impose limits on the scope of
        subsequent prosecution of a person who is to be extradited for at least one crime in
        any event. Since such a ruling can only be advisory in character, and in certain
        circumstances might cause embarrassments to the executive branch in the conduct
        of foreign affairs, arguably it should be left to the Secretary of State to determine
        whether to seek to impose any limitations since he alone will have the duty of
        making a response if the requesting state chooses not to follow our limitations.353

  In any such event, the record of the original extradition hearing should contain evidence of
  probable cause that such a crime had been committed, as is required by legislation or by
  treaty.

  The requirement of a new hearing to determine probable cause for an included or related
  offense depends on the applicable treaty or the legislation. No hearing is required in states
  that do not have a similar statutory requirement, such as the United States‫ § އ‬3184, or that
  do not consider the principle of specialty as the prerogative of the requested state.354

  6.5. Use of Evidence for Crimes for Which Extradition Was Not
  Granted and for Purposes of Sentencing Enhancement355
  The Eleventh Circuit held in United States v. Garcia that a sentence enhancement was
  outside the purview of the principle of specialty and that specialty does not control
  evidentiary rules in U.S. courts.356 The rule is not violated by the admission of evidence of
  crimes that an individual was not extradited for if it is relevant to the crime charged. The
  Court held:

        Thus, evidence of money-laundering (for which extradition was specifically refused)
        was nevertheless admissible as evidence within the trial court‫އ‬s discretion for the
        purpose of proving a drug conspiracy (the crime for which extradition was granted).
        United States v. Alvarez-Moreno, 874 F.2d 1402, 1413‫ށ‬14 (11 Cir.1989). Similarly,
        even in the face of a refusal by a foreign government to extradite for aiding and
        abetting a drug conspiracy under 18 U.S.C. § 2, the doctrine of specialty was held
        not to preclude the instruction of the jury on the theory of vicarious liability
        approved in Pinkerton v. United States, 328 U.S. 640 66 S. Ct. 1180, 90 L. Ed. 1489
        (1946), United States v. Gallo-Chamorro, 48 F.3d 502 (11th Cir. 1995).357

  (p. 573) The Garcia court continued:

        The doctrine of specialty, as interpreted in our law, does not call for the extradition
        crime to be handled in a vacuum, in any of its phases. Thus, for example, an
        indictment in existence at the time of extradition can be lawfully superseded after
        extradition by an indictment charging larger quantities of drugs. United States v.
        Puentes, 50 F.3d 1567 (11th Cir. 1995). See also United States v. Abello-Silva, 948 F.
        2d 1168 (10th Cir.1991); United States v. Rossi, 545 F.2d 814 (2d Cir.1976); United
        States v. Paroutian, 299 F.2d 486 (2d Cir.1962).
        With respect to the doctrine of specialty and U.S. law governing sentencing, the
        doctrine of specialty does not restrict the scope of proof of other crimes that may be
        considered in the sentencing process. The distinction is thus drawn between proof
        of other crimes as a matter germane to the determination of punishment for the


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